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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

PREPARED FOOD PHOTOS, INC., f/k/a ADLIFE
MARKETING & COMMUNICATIONS Co., INC.,

Plaintiff,

CLYDE’S CHICKEN KING, INC. d/b/a
CHICKEN KING,

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)
v. ) No. 6:24-cv-00351-RRS-DGA
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)
)
Defendant. )
SECOND AFFIRMATION OF STACY DEVILLE BOUDREAUX

1. My name is Stacy Deville Boudreaux. I make this affirmation in support of defendant’s
motion for an award of attorney fees.

2. I first learned that Chicken King had been sued from telephone and Facebook messages
left by Paul Levy. I did not respond to these contacts because I had never heard of him, had not seen
any such lawsuit, and assumed the contacts were a scam.

3. After ] received a copy of the lawsuit, I called the Opelousas lawyer whom I had contacted
in 2019 when IJ received the first demand letter from Joel Albrizio, and who had told me that the
letter was a scam that I should ignore. However, his office told me that he no longer goes to court.

4. I did not know where to find a lawyer. I ran into the district attorney and asked for a
recommendation. He suggested a law firm in Lafayette that I should call, but the lawyers who might
have been able to help me were out of town.

5. I then did online research to find a lawyer, reading about the work that Paul Levy has done

about copyright suits and about Prepared Food Photos in particular. I decided to find out what he

could do for me. After talking to him, I decided to hire him, but understood that I would need to
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find a local lawyer to be with him on the case.

6. After speaking with the Lafayette firm, I decided to stick with Mr. Levy both because he
seemed to have much more knowledge about the issues in the case and because the Lafayette firm
told me that it would probably cost a great deal of money to hire them as my lawyers. I had by that
time learned that Mr. Levy had located Heather Cross and that she was willing to represent me.

Pursuant to 28 U.S.C.§ 1746, I hereby affirm that the

foregoing is true and correct. Executed on May 14,
2024.

Stacy Deville Boudreaux Rouchsan/

